 

Complaint# 2016-090-01717

 

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THIS RECORD MAY NOT BE MADE AVAILABLE TO ANY PERSON
OR PUBLIC OR PRIVATE AGENCY OUTSIDE THE POLICE DEPARTMENT.

 

New Week City Pelice Departure ne
Omniferm System - Complaints.

 

 

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Report Cmd: Jurisdiction: Record Status: Compiaint #: |/No Other Complaint
096 ALY. POLICE DEPT Finai, Initial Arrests made 2016-090- Legacy Blue |] Revisions:
Ora? Versions View All
Versions 0
i
NORTH WEST NYC Parks Dept. || Precinct: 090
Oecurrence CORNER ROEBLING Property Sector: B
Location: STREET & Did this offense cecur on NYC Beat:
BROADWAY Parks Dept. Property? Post:
Name Of Premise: Command:
Premises Type: STREET - NYC Parks Dept. Property Name:
Location Within
Premise:
Visible By
Patrol?: NO
Cccurrence From: 2016-03-20 16:00 SUNDAY Aided # 000999999
Occurrence thru: 2076-03-20 16:07 Accident #
Reported: 2046-03-20- 20:00 0.6.6.8. #
Complaint Recelved: RADIO
SEALED SEALED
Classification: ASSAULT Case Status: CLOSED
Attempted/Completed: COMPLETED Unit Referred To:
Most Serious Offense Is: MISDEMEANOR Clearance Code: UNIFORM ARREST
PD Code: 101 ASSAULT 3 LogiGase #: 0
PL. Section: 12600 Clearance Arrest id:
Keycode! 244 ASSAULT 3 & RELATED OFFENSES Clearance AQ Cmd:

File #: 38
Prints Requested? YES

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

is This Related To Stop And Frisk Report SQF Number: Was The Victim's Personal lias The Victim's Personal
NO 0600-060-009000 Information Taken Or information Used Fo Commit A
Possessed? Grime?
NO NO
Gang Related? OCCB FOR Log #: Name Gf Gang: Child Abuse Suspected?
NO NG
DIR Requlred? Child in Common? intimate Relationship?
NO NO }Ino
SEALED SEALED
if Burglary: Alarm: it Arson? Taxi Robbery:
Forced Entry? Bypassed? Structure: Partition Present: NO
Structure: Comp Responded?: i occupied?: Amber Stress Light
Entry Method: vompany . Damage by: Activated:
Entry Location: amel none: Method of Conveyance:
ss Location of Pickup:
Crime Prevention

 

 

 

BD..00004,01:
 

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Survey Requested?:
Complaint/Reporter

 

 

 

 

 

 

 

 

Present?:
Supervisor On Scene - Rank / Name / Command: i Canvas Conducted: Transiatar(if used):
SGT KATRINCIC 96 YES
HARRATIVE:

AT TiP/O Cl¥ STATES HE WAS PASSENGER IN A VEHICLE WHEN DEFT BEGAN THROWING OSJECTS AT VEHICLE. ANOTHER
PASSENGER, DANIEL O'CONNOR 9BRaEas, EXITED VEHICLE ANID ENGAGED IN AN ALTERCATION WITH DEFT. C/V EXITED VEHICLE
TO BREAK UP THE ARGUMENT ANDO WAS STRUCK ON THE RIGHT SIDE OF FAGE BY DEFT USINGA CLOSED FIST CAUSING REDNESS
TO FACE AND COMPLAINING OF PAIN. C/V FELL TO GROUND CAUSING SCRAPES TO RIGHT KNEE. C/V TREATED BY EMS 4ND RMA.
AFTER INVESTIGATION, DEFT PLAGEDUNDER ARREST AT S0PCT.

[Version 1, SYSTEM GENERATED

 

 

 

SEALED | SEALED

 

 

 

 

 

 

 

rHerlctersrlecenes

 

iNo NYC TRANSIT Data for Complaint # 2046-090-04717

 

 

 

 

[SEALED SEALED

 

 

 

 

  

 

 

 

Fotal Vietims: Total Witnesses: Total Reporters: t Total Wanted:
4 6 0 1

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

. Name: Complaints:
VICTIM: #1 of 7  LJACOBS, THOMAS 2016-090-04717
Nick/AKA/ Maiden: Gang/Crew AHillation: NO
UMOS: YES Name:
SexType: MALE Identifiers:
Race: Faas
Ago:
Date Of Birth:
Disabled? NO Will View Photo: YES
is this person not Proficient in English?: NO Will Prosecute: YES
lf Yas, indicate Language: Notified Of Crime

 

eee

> YES
N.Y.C.H.A Resident? NO Victiin Comp. Law:

is Victini fearful for their safety / ie? NO
Escalating violence / abuse by suspect? NO
Were prior DIR's prepared for CV? NO

posi sprea

 

 

 

 

: LOCATION ADDRESS city STATEICOUNTRY ZIP APTIROOM

| BUSINESS 1 POLICE PLAZA MANHATTAN NEW YORK
| HOME-PERMANENT NEW YORK

 

 

 
 

iPhone #: HOME: Not Provided aaa fees BUSINESS: Not Provided/Unavaijable BEEPER: Not Provided/Unavailable

J E-MAIL: Not Provided/Unavaiable

 

 

Action against Victim: Actions Of Victim Prior To Incident:
E DRIVING IN VEHICLE

 

 

 

 

 

 

 

 

 

 

 

 

Victirn OF Similar incident: if Yes, When And Where
oO
ISBALED SEALED
: Name: Complaint: Arrested:
(WANTED: #7 of 7 COOPER, 2016-690-01717 YES
i STEVEN
NicW/AKA/Maiden: Height SFT7iIN Order Of Protection: NO
Sex: MALE Weight: 140 issuing Court:
Race: WHITE Eye Color: BROWN Becket #:
i Age; 42 Hair Color: BLACK Expiration Date:
| Date Of Girth: 16/23/1972 Hair Length: SHORT Order of Protection Violated? NO
U.S. Citizen: YES Hair Style: CLOSE CUT Does Suspect abuse Drugs / Alechol? NO

 

 

 

 

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Place Of Birth: USA Skin Tone: LIGHT Suspect threatened /atiempted NO

is this person not Proficient in English?: NO Complexion: CLEAR suicide?
if Yes, indicate Languaga: is the suspect Parote / Probation? NO

| Accent: NO S5.# 0 Relation to Victim: STRANGER
' Living together: NO
Can he Identifled: YES

 

Gang/Crew Affiliation: NO
Name:
identifiers:

 

 

 

| LOCATION ADDRESS Ciry STATE/COUNTRY ZIP APTIROOM HOW LONG? RES. POT
5 HOME-PERMANENT 145 BROADWAY BROOKLYN NEW YORK Viet 4 030

 

 

{Phone #: HOME: - - CELL: 917-721-2333 BUSINESS: -. BERPER: - - E-MAIL:

 

| NLY.G.H.A. Resident: NO NLY.C. Housing Employee: NO On Duty: NO
Davelopment: NLY.C. Transit Employee: NO

 

 

 

Physical Force: USED

 

 

Weapons:

 

Gur:
Weapon Used/Possessed: NONE Make: Recovered:
Non-Firearrn Weapon: Caflber: Sarial Number Defaced:
i Other Weapon Description: Color: Serlai Number:
Type:
Other/Gua Specify:
Discharged: NO

 

 

 

Used Transit Systerr:
Station Entered:
Time Entered:

Metra Card Type:

? Metro Gard Used/Poses:.
Card #: i

 

 

 

: CRIME DATA DETAILS:
S MQDUS OPERAND! UNKNOWN i
' ACTIONS TOWARD VICTIM INJURY USING PHYSICAL FORCE
« CLOTHING ACCESSORIES -JEANS -BLUE
| CLOTHING OUTERWEAR -WAIST LENGTH JACKET -BLACK i
| CLOTHING FOOTWEAR SNEAKERS -BROWN

4 CLOTHING HEADGEAR -UNK -UNKNOWN COLOR

' CHARACTERISTICS UNKNOWN

> BODY MARKS UNKNOWN

| BODY MARKS ARM -TATTOO WITH WORDS ONLY -DESCRIBE:KINKY

IMPERSONATION UNKNOWN
(SEALED SEALED,

 

 

 

 

 

 

 

 

 

 

ARRESTS: . Complaint # 20 76-090-01717

ArrestiD Status DefendantName Sex Race AGE Arrest Date
K16621359 SEALED COOPER, STEVEN MALE WHITE ~ 42 03/20/2016

 

 

SEALED . Lo SEALED
[No IME! Data for Complaint # 2018-090-017417

SEALED - SEALED

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Regoriing/Investigating MLO.S, Name: Tax #: Command: Rep.Agency:
POF SCHRELL JESSICA 090 PCT NYPD
888884
Supervisor Approving Name: Tax #:  ¢ Cammand: Rep.Agency:
SGT BARNHART PEARL 939242 090 PCT NYPD
Compiaint Report Entered By: Tax d: Goramand: Rep.Agency:
POM HORUN 090 POT NYPD
/ 928439
'sigaott Supervisor Name: Tax Command: Rep.Agency:
(SGT BARNHART oso PCT NYPD
939242
SEALED SEALED
‘ END OF COMPLAINT REPORT
# 2046-090-01747

 

 

 

| Print this Report

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